                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

Criminal Case No: 18-cr-475 WYD

UNITED STATES OF AMERICA,

       Plaintiff,
v.

     1. MARY ARONSON

       Defendant.


                                   INDICTMENT
                                21 U.S.C. §841(a)(1)
                               21 U.S.C. §841(b)(1)(C)
                                21 U.S.C. §841(b)(2)
                                   21 U.S.C. §853


THE GRAND JURY CHARGES:

                                     COUNT ONE

       On or about December 5, 2017, within the State and District of Colorado, the

defendant, Mary Aronson, did knowingly and intentionally distribute oxycodone and

amphetamine, both Schedule II controlled substances, in violation of Title 21, United

States Code, Sections 841(a)(1) and 841(b)(1)(C).

                                     COUNT TWO

       On or about January 19, 2018, within the State and District of Colorado, the

defendant, Mary Aronson, did knowingly and intentionally distribute oxycodone and


                                            1
amphetamine, both Schedule II controlled substances, in violation of Title 21, United

States Code, Sections 841(a)(1) and 841(b)(1)(C).

                                     COUNT THREE

       On or about January 19, 2018, within the State and District of Colorado, the

defendant, Mary Aronson, did knowingly and intentionally distribute lorazepam, a

Schedule IV controlled substance, in violation of Title 21, United States Code, Sections

841(a)(1) and 841(b)(2).

                                      COUNT FOUR

       On or about February 13, 2018, within the State and District of Colorado, the

defendant, Mary Aronson, did knowingly and intentionally distribute oxycodone, a

Schedule II controlled substance, in violation of Title 21, United States Code, Sections

841(a)(1) and 841(b)(1)(C).

                              NOTICE OF FORFEITURE

       As a result of the foregoing offenses, violations of Title 21, United States Code,

Sections 841(a)(1) and 841(b)(1)(C), the defendant, Mary Aronson, shall forfeit to the

United States any and all property, real or personal, constituting or derived from any

proceeds the said defendant obtained directly or indirectly as a result of the said violation,

and any and all property used or intended to be used in any manner or part to commit and

to facilitate the commission of the violations alleged in this Indictment.

       If any of the property subject to forfeiture as a result of any act or omission of the


                                              2
defendant:

              A.     cannot be located upon the exercise of due diligence;

              B.     has been transferred to sold to or deposited with a third person;

              C.     has been placed beyond the jurisdiction of this Court;

              D.     has been substantially diminished in value; or

              E.     has been co-mingled with other property which cannot be subdivided

                     without difficulty;

       it is the intent of the United States, pursuant to Title 21, United States Code,

Section 853(p), to seek forfeiture of any other property of said defendant up to the value

of the forfeitable property.

       All in violation of Title 21, United States Code, Section 853.

                                                         A TRUE BILL:

                                                         Ink signature on file in Clerk’s Office
                                                         GRAND JURY FOREPERSON


       ROBERT C. TROYER
       UNITED STATES ATTORNEY

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